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Exhibit "A"

257310 Anh Nguyen (257310) Orlando FL
257315 My Tran (257315) Viera FL
262492 Tung Pham (262492) Orlando FL
262493 Trung Pham (262493) Orlando FL
262658 Casandra Doan (262658) Viera FL
262664 Khai Nguyen (262664) Orlando FL
263228 My Bui (263228) Viera FL
266385 Chi Huynh (266385) Viera = EL
266386 Hanh Lam (266386) Vera FL
266388 Jenny Doan (266388) Viera FL
269022 Trang Phan (269022) Orlando FL
269124 Yen Quach (269124) Viera FL

269130 Hai Doan (269130) Viera FL
269132 Suong Nguyen (269132) Orlando FL
273765 Vinh Mai (273765) Sarasota FL

274923 Lang Tran (274923) Orlando FL

